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                       EXHIBIT “C”
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  From: "Brian C. Shevland" <shevland@yahoo.com>
  Date: January 20, 2021 at 4:18:28 AM PST
  To: Patrick Orlando <porlando@benesserecapital.com>
  Subject: Important topic for discussion...
  Reply-To: "Brian C. Shevland" <shevland@yahoo.com>


  Patrick,
  I definitely want to connect today on a variety of topics. Eric and I are getting together
  later morning to go into detail about the structure that he thinks makes the most sense
  for an alternatives desk and I think it will be a good start to the dialogue. This morning
  we can discuss any updates you have from yesterday, and process improvements
  implemented by Eric's work, and I would like to discuss the situation on our agreement
  changing which is candidly very disappointing to me. Here are the facts as I know them:

  1) We came to terms on a agreement that I would invest $500,000 for 250,000 shares
  blus a small allotment of Director shares.

  2) I was informed that the date in the agreement was a placeholder, didn't have any real
  ramifications but really just get the money moved over as soon as possible.

  3) Based on the understanding, I shifted around an investment portfolio causing taxes,
  expenses, and candidly a decent amount of work.

  4) The wire took longer than expected, I kept you in the loop on the transfer and it was
  confirmed to me the wire was released from Interactive Brokers to my bank account at
  10 AM on Friday morning. I called my bank 3 times that day including just before closing
  and the money didn't arrive yet. They said there was a massive backup in the Fed
  wiring system.

  5) Monday was a holiday and the money showed up in my account first thing on
  Tuesday morning.

  6) I was informed on Monday night that based on the actions of ARC and the protection
  of your personal shares totals that our agreement would be changed, I would be the one
  to pay the entire price of ARCs actions, even though I was never informed of this
  possibility or potential income.
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  Hopefully you can see from my side, this is a really a bad outcome changing the terms
  of what we discussed that could have been easily avoided with communication. It is
  hard to understand why I am being asked to take on pain when I followed the
  instructions as laid out for me and communicated throughout the process.

  My interest beyond this first SPAC is clearly to build something much larger. I think it is
  crucial to have what I refer to as "complete transparency and radical honesty" with
  anyone that works closely with me so that is my intention with this email. I would like
  you to reconsider your position if you agree with all of the facts I stated above. Let's
  discuss, let's see if there are other options, and then let's move on.

  Sincerely,
  Brian




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